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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NEW YORK
__________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff

                                                        DECISION and ORDER
-vs-
                                                        11-CR-6083

RICHARD W. MAR

                            Defendant
__________________________________________

       This case was referred by text order of the undersigned, entered May 2, 2011, ECF

No. 2, to Magistrate Judge Marian W. Payson, pursuant to 28 U.S.C. § 636(b)(1)(A)-(B). On

June 11, 2012, Defendant filed an omnibus motion, ECF No. 201, seeking inter alia

suppression of evidence of a photographic identification procedure. On August 9, 2012

Magistrate Judge Payson filed a Report and Recommendation (“R&R”), ECF No. 250,

recommending that the Court deny Defendant’s motion to suppress. The time has passed for

Defendant to file any objections to the R&R, and none have been filed.

       Accordingly, for the reasons set forth in Magistrate Judge Payson’s R&R, Defendant’s

application to suppress evidence of a photographic identification procedure is denied.

       IT IS SO ORDERED.

Dated: Rochester, New York
       September 26, 2012

                            ENTER:


                                                 /s/ Charles J. Siragusa
                                                 CHARLES J. SIRAGUSA
                                                 United States District Judge
